       Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 1 of 7



 1   ROB BONTA
     Attorney General of California
 2   ANTHONY R. HAKL
     Supervising Deputy Attorney General
 3   JERRY T. YEN
     Deputy Attorney General
 4   State Bar No. 247988
      1300 I Street, Suite 125
 5    P.O. Box 944255
      Sacramento, CA 94244-2550
 6    Telephone: (916) 210-7836
      Fax: (916) 324-8835
 7    E-mail: Jerry.Yen@doj.ca.gov
     Attorneys for State of California and Rob Bonta, in
 8   his official capacity as California Attorney General

 9
                             IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12

13   EASTON STOKES,                                    3:19-cv-04613-WHA

14                                          Plaintiff, DEFENDANT CALIFORNIA
                                                       ATTORNEY GENERAL ROB BONTA’S
15                  v.                                 REPLY IN SUPPORT OF MOTION FOR
                                                       SUMMARY JUDGMENT
16
     THE UNITED STATES DEPARTMENT                      Date:           June 17, 2021
17   OF JUSTICE, WILLIAM BARR,                         Time:           8:00 a.m.
     individually and as Attorney General of the       Courtroom:      Remote
18   United States, THE U.S. BUREAU OF                 Judge:          Hon. William Alsup
     ALCOHOL, TOBACCO, FIREARMS AND                    Trial Date:     None Set
19   EXPLOSIVES (ATF); REGINA                          Action Filed:   August 12, 2019
     LOMBARDO individually and as Acting
20   Director of ATF; THE FEDERAL
     BUREAU OF INVESTIGATION;
21   Christopher Wray individually and as
     Director of the Federal Bureau of
22   Investigation; STATE OF CALIFORNIA,
     ROB BONTA, individually and acting as
23   Attorney General of the State of California,
     THE SONOMA COUNTY SHERIFF'S
24   OFFICE, MARK ESSICK, individually and
     as Sheriff of Sonoma County,
25
                                        Defendants.
26

27

28

                                  Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
        Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 2 of 7



 1                                                         TABLE OF CONTENTS

 2                                                                                                                                              Page
 3   Introduction ..................................................................................................................................... 1
     Argument ........................................................................................................................................ 1
 4
            I.        Plaintiff Concedes That This Suit Cannot Be Brought Against the
 5                    California Attorney General .................................................................................... 1
            II.       Sovereign Immunity Bars Plaintiff’s Suit Against the California Attorney
 6                    General .................................................................................................................... 2
 7          III.      Plaintiff Does Not Have Standing to Bring Suit Against the California
                      Attorney General ..................................................................................................... 2
 8   Conclusion ...................................................................................................................................... 3
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                               i
                                                  Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
        Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 3 of 7



 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                               Page
 3
     CASES
 4
     Bolbol v. City of Daly City
 5      754 F.Supp.2d 1095 (N.D. Cal. 2010) ...................................................................................... 1
 6
     Lujan v. Defenders of Wildlife
 7      504 U.S. 555 (1992) .................................................................................................................. 3

 8   Pervez v. Becerra
        Case No. 2:18-cv-02793-KJM-KJN, 2019 WL 2715621 (E.D. Cal. June 28,
 9      2019) ......................................................................................................................................... 2
10   Tatum v. Schwartz
        No. S–06–01440 DFL EFB, 2007 WL 419463 (E.D. Cal. Feb. 5, 2007) ................................. 1
11

12   Walsh v. Nev. Dep't of Human Resources
        471 F.3d 1033 (9th Cir. 2006)................................................................................................... 1
13
     Wilbur v. Locke
14      423 F.3d 1101 (9th Cir. 2005)................................................................................................... 2
15   Ex parte Young
        209 U.S. 123 (1908) .................................................................................................................. 2
16
     STATUTES
17

18   California Welfare & Institutions Code
        § 5250 ........................................................................................................................................ 2
19

20

21

22

23

24

25

26

27

28
                                                                              ii
                                                  Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
          Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 4 of 7



 1                                            INTRODUCTION

 2          This suit challenges the constitutionality of a federal law, not a California law, that

 3   prohibits Plaintiff from owning firearms. Because it does not involve California law, sovereign

 4   immunity and lack of standing bar Plaintiff’s suit against the State of California and the

 5   California Attorney General. These legal defects are not even addressed in Plaintiff’s Opposition

 6   to the Defendants’ Motion for Summary Judgment (ECF No. 95). Accordingly, the California

 7   Attorney General respectfully requests that the Court grant his Motion for Summary Judgment.

 8                                               ARGUMENT

 9   I.     PLAINTIFF CONCEDES THAT THIS SUIT CANNOT BE BROUGHT AGAINST THE
            CALIFORNIA ATTORNEY GENERAL
10

11          The California Attorney General’s Motion for Summary Judgment (ECF No. 89) raises two

12   legal arguments – sovereign immunity and lack of standing – for why Plaintiff cannot maintain

13   his lawsuit against the State of California or the California Attorney General. Plaintiff’s

14   opposition (ECF No. 95) does not address either argument. Failure to respond to the California

15   Attorney General’s summary judgment arguments concedes those arguments. See Bolbol v. City

16   of Daly City, 754 F.Supp.2d 1095, 1115 (N.D. Cal. 2010) (“[P]laintiff fails to address this issue in

17   her opposition brief and apparently concedes that she may not proceed on this claim.

18   Accordingly, the court grants summary judgment in favor of defendants as to this claim”); see

19   also Walsh v. Nev. Dep't of Human Resources, 471 F.3d 1033, 1037 (9th Cir. 2006) (where

20   opposition to motion to dismiss failed to address arguments in motion to dismiss, it was

21   “effectively abandoned” and could not be raised on appeal); Tatum v. Schwartz, No. S–06–01440

22   DFL EFB, 2007 WL 419463, at *3 (E.D. Cal. Feb. 5, 2007) (holding that the plaintiff “tacitly

23   concede[d]” that her claim should be dismissed by failing to address the defendants’ Eleventh

24   Amendment argument in her opposition, and granting the defendants’ motion to dismiss that

25   claim). So, the Court should grant summary judgment in favor of the California Attorney

26   General.

27

28
                                                        1
                                    Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
       Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 5 of 7



 1   II.   SOVEREIGN IMMUNITY BARS PLAINTIFF’S SUIT AGAINST THE CALIFORNIA
           ATTORNEY GENERAL
 2

 3         As discussed in his Summary Judgment Motion, the Eleventh Amendment bars this suit

 4   against the California Attorney General as a matter of law. There is only a limited exception to

 5   Eleventh Amendment immunity under Ex parte Young, 209 U.S. 123 (1908) when a plaintiff

 6   seeks prospective declaratory and injunctive relief against state officers, sued in their official

 7   capacities, for ongoing violation of federal law. Wilbur v. Locke, 423 F.3d 1101, 1111 (9th Cir.

 8   2005). Here, Plaintiff fails to provide any evidence or make any argument that the California

 9   Attorney General is violating any federal laws. See Plaintiff’s Opposition (ECF No. 95). Thus,

10   any claims that Plaintiff may have against the California Attorney General are barred by

11   sovereign immunity.

12         To the extent that Plaintiff believes the California Attorney General can correct any alleged

13   errors in his mental health records, Plaintiff fails to provide any authority for such a proposition.

14   The California Attorney General does not participate in the certification of a person for

15   involuntary treatment under California Welfare & Institutions Code § 5250 (a “5250 hold”). See

16   Gilbert Mac Declaration (ECF No. 89-1), at ¶ 8, 14. Indeed, as another district court stated,

17   “under California law neither the Attorney General nor any other DOJ employee directs or

18   controls the mental health facilities responsible for the imposition of a section 5250 hold in the

19   first instance” and that “the role of the DOJ in this statutory system is purely administrative,

20   without an enforcement function.” Pervez v. Becerra, Case No. 2:18-cv-02793-KJM-KJN, 2019

21   WL 2715621, *1 (E.D. Cal. June 28, 2019). Accordingly, the Court should find that sovereign

22   immunity applies and grant summary judgment in favor of the California Attorney General.

23   III. PLAINTIFF DOES NOT HAVE STANDING TO BRING SUIT AGAINST THE CALIFORNIA
          ATTORNEY GENERAL
24

25         Even if the Eleventh Amendment did not bar Plaintiff’s suit (which it does), Plaintiff’s

26   complaint does not state a case or controversy against the California Attorney General, which is

27   necessary to establish standing. Plaintiff’s opposition provides no explanation for why the

28   California Attorney General is even a defendant in this case. There needs to be some causal
                                                        2
                                    Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
         Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 6 of 7



 1   connection between Plaintiff’s injury and some unlawful conduct by the California Attorney

 2   General. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). Plaintiff, however, does

 3   not specify how his inability to possess a firearm under federal law is connected to or “fairly

 4   traceable” to the Attorney General. Thus, Plaintiff lacks standing to bring suit against the

 5   California Attorney General.

 6                                               CONCLUSION
 7            Sovereign immunity and lack of standing foreclose this suit against the State of California

 8   and the California Attorney General. Indeed, the California Attorney General’s involvement in

 9   this case is completely unnecessary. Plaintiff fails to present any arguments to the contrary. For

10   the foregoing reasons and the reasons stated in the California Attorney General’s Motion for

11   Summary Judgment, the Court should grant the motion and enter judgment in favor of the

12   California Attorney General and the State of California.

13
     Dated: June 7, 2021                                     Respectfully Submitted,
14
                                                             ROB BONTA
15                                                           Attorney General of California
                                                             ANTHONY R. HAKL
16                                                           Supervising Deputy Attorney General
17

18
                                                                   /s/ Jerry T. Yen
19                                                           JERRY T. YEN
                                                             Deputy Attorney General
20                                                           Attorneys for State of California and Rob
                                                             Bonta, in his official capacity as California
21                                                           Attorney General
22   SA2019104336/35167056


23

24

25

26

27

28
                                                        3
                                     Defendant Attorney General Rob Bonta’s Reply ISO MSJ (3:19-cv-04613-WHA)
          Case 3:19-cv-04613-WHA Document 97 Filed 06/07/21 Page 7 of 7




                                CERTIFICATE OF SERVICE
Case Name:       Easton Stokes v. US DOJ, et al           No.    3:19-cv-04613-WHA

I hereby certify that on June 7, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
    DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA’S REPLY IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on June 7,
2021, at Sacramento, California.


               Lindsey Cannan                                   /s/ Lindsey Cannan
                  Declarant                                           Signature

SA2019104336
35167188
